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       EXHIBIT A
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        June 26, 2020


                                               Class Action Fairness Act – Notice to Federal and State Officials

        Re:        Eduardo Peña, et al. v. Wells Fargo Bank, N.A., Case No. 19-cv-04065-MMC

        Dear Sir or Madam:

        We represent Defendant Wells Fargo Bank, N.A. (“Wells Fargo” or “Defendant”) in the above-
        captioned action (the “Peña Action”). Pursuant to 28 U.S.C. § 1715, this notice is to inform you of
        a proposed class action settlement of the Peña Action – a lawsuit currently pending in the United
        States District Court for the Northern District of California (Chesney, J.). The lawsuit asserts
        allegations that Wells Fargo discriminated against individuals with DACA status, or Deferred Action
        for Childhood Arrivals, by failing to make available direct auto loans to them on the same terms as
        United States citizens, allegedly in violation of Section 1981 of the Civil Rights Act and the
        California Unruh Act. Further, the lawsuit asserts that Wells Fargo improperly pulled credit of
        DACA applicants in violation of the Fair Credit Reporting Act and did not provide an accurate reason
        for the denial in violation of the Equal Credit Opportunity Act.

        In accordance with 28 U.S.C. § 1715(b), settling Defendant Wells Fargo states as follows:

                1) The original complaint and amended complaints in the Peña Action, as well as all
                   attachments thereto, are contained on the enclosed CD. In addition, the original
                   complaint, amended complaints, and all other pleadings and records filed in the
                   Peña Action are available on the Internet through the federal government’s Pacer
                   service at https://ecf.cand.uscourts.gov/cgi-bin/login.pl. Additional information
                   about the Pacer service may be found at https://pcl.uscourts.gov.

                2) At this time, the Court has not ruled on preliminary approval of the parties’
                   proposed class action settlement (“Preliminary Approval Order”). The motion
                   seeking preliminary approval, along with all of the attachments to it, is included
                   on the enclosed CD. The hearing on the motion for preliminary approval is
                   currently set for July 24, 2020. At this time, the hearing for final approval of the
                   settlement has not been scheduled.

                3) The proposed form of direct notice to class members, which provides notice of
                   the proposed settlement and each class member’s right to request exclusion from
                   the class action, is included on the enclosed CD.




               Atlanta | Austin | Baltimore | Brussels | Charlotte | Charlottesville | Chicago | Dallas | Houston | Jacksonville | London | Los Angeles - Century City
                   Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C. | Wilmington
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     4) The parties’ proposed class action settlement agreement dated as of June 16,
        2020, including all exhibits (“Settlement Agreement”), is included on the
        enclosed CD. The proposed Preliminary Approval Order asks the Court to find
        that the proposed settlement “falls within the range of reasonableness and was the
        product of informed, good-faith, arm’s-length negotiations between the Parties
        and their counsel” and to preliminarily approve it as “fair, reasonable, and
        adequate.”

     5) There are no additional agreements between class counsel and counsel for
        Defendant Wells Fargo, other than those reflected in the Settlement Agreement.

     6) No final judgment or notice of dismissal has yet been entered in the Peña Action.

     7) At this juncture, it is not feasible to provide the name and state of residence for
        each class member covered by the proposed settlement. The Settlement
        Agreement contemplates that the Notice List would include denials through the
        date of the Preliminary Approval Order, which has not been entered yet.

         Further, as explained more fully in the Settlement Agreement, the Notice List
         currently contains approximately 1,625 individuals that applied for and were
         denied the relevant credit product. However, it is unknown how many individuals
         on the Notice List currently have or had DACA status and would potentially be
         members of the Class; rather, the list contains denied applicants of a variety of
         temporary immigration statuses, including those with a variety of visa’s or
         temporary protected statuses, who would not be class members. As a result, it is
         not feasible to estimate the number of class members residing in each state and
         the estimated proportional share of the entire settlement attributable to certain
         states.

         As set forth more fully in the Settlement Agreement, the fund available to class
         members will be determined by the number of claims made and verified by class
         members, with the amount of payment also determined by the number of claims
         made. For example, members of the California Class could receive up to $2,500
         per denial, and members of the National Class could receive up to $300 per
         denial. The California fund has a total floor of $225,000 and cap of $525,000.
         The National fund has a total floor of $55,000 and ceiling of $105,000.
         Accordingly, it is not feasible to estimate the proportionate share of the settlement
         value that each class member will receive.

     8) No written judicial opinions have been issued relating to the proposed settlement
        as of this date.


If you have questions about this notice, the settlement, or the enclosed materials, or if you do not
receive any of the above-listed materials, please contact us.
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Thank you for your attention to this matter.



                                                       Sincerely,

                                                       MCGUIREWOODS LLP



                                                       K. Issac deVyver
                                                       Karla L. Johnson

                                                       Counsel for Wells Fargo Bank, N.A.


CC: All Addressees Listed in Attachment A hereto.

Attachment and Enclosure
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                           CAFA Notice – Attachment A – Service List

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